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              EXHIBIT A
Defendant Details
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         HOME                PLAINTIFF INFORMATION                   FACT SHEET REVIEW              REPORTING         DOCKET CENTRAL                        MY ACCOUNT



                                                                                                                                                                       Back To MDL Centrality

      MDL 2740 - Taxotere

           << Back


                                                                                            Plaintiff Information
                             Plaintiff ID:     10293                                                                   DOB:      07/12/1954
                                  Name:        CARRIENE NEVIN                                                         Email:
                         Most Recent PFS
                                         10/31/2018
                            Submitted:
                                                 

                                                                                             Plaintiff Snapshot
                                       Treated with Taxotere:             Unknown                                                 Treated with Generic:          Yes                  Comments
                                                       Drug Name:         Unknown                                               Unknown Certification:
                                               Treatment Dates:           10/9/2014 to 10/30/2014                                               Docket No.: 18-01589
                     Properly Executed Verification of PFS:               View                              Proof of Injury - Medical Documentation: N/A
           Proof of Injury - Before & After Photographs:                  View                                                                   Law Firm:      Bachus & Schanker, LLC




                                                                                             Deficiency Notices

               Notice ID           Action                       Approve                              Hold                              Status
                     1          Approve/Hold                                                                                   Deficiency Notice Served            History          Issue Notice



                                                                                           Defendant Management

           Assigned: Pfizer/Hospira                                                                                                           Reviewer History               View Deficiencies

            Update Cure Date/Review Note
            Cure Date:


                     Plaintiff Documents                   Defendant Documents


             Search Results:                                                                       Page 1 of 1 (11 records)

                                                            Filter: ALL
                                                                     ALL

                    Doc ID                           Document Type                            Signed Date                Signed By                        Available Date             Notes
                    354426                    Medical Records - Proof of Use                   05/09/2019                                                   05/09/2019             Comments
                                  Proof of Injury - Before & After Photographs - During
                    343667                                                                     04/22/2019                                                   04/22/2019             Comments
                                                    Chemo November 2014
                                  Proof of Injury - Before & After Photographs - Present
                    343666                                                                     04/22/2019                                                   04/22/2019             Comments
                                             Day / After Chemo January 7 2019
                    333233                    Response to Deficiency Notice                    04/02/2019                                                   04/02/2019             Comments
                                  Proof of Injury - Before & After Photographs - Before



https://www.mdlcentrality.com/Taxotere/Secure/MDL/Defendant/DefendantDetails.aspx[6/20/2019 9:09:37 AM]
Defendant Details
                             Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 3 of 49
                    332160                                                                      04/01/2019                                              04/01/2019   Comments
                                      Chemo November 2010 is within 5 years
                    257964                       Plaintiff Fact Sheet                           10/31/2018                         McCormick, Melissa   10/31/2018   Comments
                    250503                 Proof of Use -- Medical Records                      10/12/2018                                              10/31/2018   Comments
                    250232           Properly Executed Verification of PFS - DSP                10/11/2018                                              10/31/2018   Comments
                    250231                      HIPAA Authorization                             10/11/2018                                              10/31/2018   Comments
                                Proof of Injury - Before & After Photographs - Present
                    250230                                                                      10/11/2018                                              10/31/2018   Comments
                                                    Day-Sep 2018
                    250229      PTO 71 Written Statement - No additional ESI found              10/11/2018                                              10/31/2018   Comments




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https://www.mdlcentrality.com/Taxotere/Secure/MDL/Defendant/DefendantDetails.aspx[6/20/2019 9:09:37 AM]
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               EXHIBIT B
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From:               Insogna, Nicholas A. (Shld-Bos-LT)
To:                 Bieri, Kelly (SHB); Dawn Barrios; p lambert; Kate Robinson
Cc:                 Olinde, John; Eickbush, Rebecca (SHB)
Subject:            RE: Taxotere - Sanofi"s 2.1.19 Notice of Non-Compliance
Date:               Friday, February 1, 2019 6:48:10 PM
Attachments:        23196200_v 3_505(b)(2) Notice of Non-Compliance for March 2019 Show Cause Hearing.XLSX




Dawn and Palmer (and Kate) –



Attached is the 505(b)(2) Defendants’ Notice of Non-Compliance, anticipating a March status conference, pursuant to PTO-22A. I’ve sorted this
by plaintiff firm. Please let me know if you have any difficulty with the attachment.



Have a great weekend.




Nicholas A. Insogna
Associate

Greenberg Traurig, LLP
One International Place | Suite 2000 | Boston, MA 02110
T +1 617.310.6231 | F +1 617.279.8416
<mailto:insognan@gtlaw.com> insognan@gtlaw.com | <http://www.gtlaw.com/> www.gtlaw.com |  
<https://www.gtlaw.com/en/professionals/i/insogna-nicholas-a> View GT Biography

 <http://www2.gtlaw.com/files/gtlogo_black.png>




From: Bieri, Kelly (SHB) [mailto:KBIERI@shb.com]
Sent: Friday, February 1, 2019 6:07 PM
To: Dawn Barrios <barrios@bkc-law.com>; p lambert <plambert@gainsben.com>; Kate Robinson <kate@bkc-law.com>
Cc: Olinde, John <Olinde@chaffe.com>; Insogna, Nicholas A. (Assoc-Bos-LT) <insognan@gtlaw.com>; Eickbush, Rebecca (SHB)
<REICKBUSH@shb.com>
Subject: Taxotere - Sanofi's 2.1.19 Notice of Non-Compliance



Dawn and Palmer –



Attached is Sanofi’s Feb. 1, 2019 Notice of Non-Compliance pursuant to PTO 22A. Please let me know if you have any problems opening the
attachment.   PTO No. 22A Exhibit A indicates that purported cure correspondence to sanofi required in paragraph 3 should go to
noproductid@shb.com <mailto:noproductid@shb.com> . As requested previously, please continue to advise plaintiffs to use
NonCompliance@shb.com <mailto:NonCompliance@shb.com> for such PTO 22A correspondence.



best,




Kelly




Kelly G. Bieri
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Partner
Shook, Hardy & Bacon L.L.P.

816.559.2109 | kbieri@shb.com <mailto:kbieri@shb.com>


 <https://urldefense.proofpoint.com/v2/url?u=http-
3A__www.shb.com_&d=DwMFAg&c=2s2mvbfY0UoSKkl6_Ol9wg&r=NcZa8k35xGvalj5c6rwOvcBnQJGLlY-
fXsa6URtpj18&m=Hgm2dMIWovV1mg6Zdr2pR7k9oM3OwMSaq32ITYYjg8A&s=TlpnhLgTYUIvgsXageBseikV4niLbaMLUsVBj3ZCtwc&e=>




Mail Gate made the following annotations on Fri Feb 01 2019 17:06:56

CONFIDENTIALITY NOTICE: This e-mail message including attachments, if any, is intended for the person or entity to which it is addressed
and may contain confidential and/or privileged material. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not the
intended recipient, please contact the sender by reply e-mail and destroy all copies of the original message. Thank you.
                                     Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 7 of 49                                  Reason PFS is not
       Last Name        First Name    MDL Docket No.   Date Complaint Filed        Plaintiff’s Counsel        Non-Compliance Description
                                                                                                                                             Substantially Complete
                                                                              Andrews Thornton Higgins
Cornelius          Altharia          17-cv-16863       12/11/2017                                        No PFS Submitted
                                                                              Razmara LLP
                                                                                                                                             No before photographs
                                                                                                                                             submitted; no PTO 71
                                                                                                                                             statement submitted;
                                                                                                         No Deficiency Response; PFS still
Johnson-Perry      Pamela            2:17-cv-14386     12/4/2017              Atkins & Markoff                                               workers' compensation,
                                                                                                         materially insufficient
                                                                                                                                             disability and health
                                                                                                                                             insurance authorization not
                                                                                                                                             submitted
                                                                                                                                             No before photographs
                                                                                                                                             submitted; workers'
                                                                                                                                             compensation, disability,
                                                                                                         No Deficiency Response; PFS still
Scott              Jacqueline        2:17-cv-15013     12/6/2017              Atkins & Markoff                                               and health insurance
                                                                                                         materially insufficient
                                                                                                                                             authorization do not have
                                                                                                                                             dates for the witness
                                                                                                                                             signatures
Brantley           Laura             2:17-cv-10780                 10/18/2017 Bachus & Schanker, LLC     No Deficiency Response; PFS Not     Proof of Injury - No photos
                                                                                                         Substantially Complete
Brent              Vonda             2:17-cv-07875                 08/15/2017 Bachus & Schanker, LLC     No Deficiency Response; PFS Not     Proof of Injury - Photos not
                                                                                                         Substantially Complete              dated
                                                                                                                                             Proof of Injury - no "before"
Brown              Carina            2:18-cv-02792                 03/15/2018 Bachus & Schanker, LLC     PFS Not Substantially Complete      photos provided.
Cameron            Beth              2:17-cv-08506                 08/31/2017 Bachus & Schanker, LLC     No Deficiency Response
                                                                                                                                             Proof of Injury - photos are
Clay               Shirley           2:17-cv-09091                 09/14/2017 Bachus & Schanker, LLC     PFS Not Substantially Complete      undated.
Daily              Juanita           2:17-cv-11339                 10/26/2017 Bachus & Schanker, LLC     No Deficiency Response; PFS Not     Proof of Injury - Photos not
                                                                                                         Substantially Complete              dated
                                                                                                                                             Proof of Injury - no
                                                                                                                                             documents submitted;
                                                                                                                                             Declaration - not submited;
                                                                                                                                             Authorizations - Health
                                                                                                                                             Insurance, Disability, Work
                                                                                                                                             Comp, and Employment not
Day                Carol             2:17-cv-08331               08/27/2017 Bachus & Schanker, LLC       PFS Not Substantially Complete      executed.
Dixon              Gloria Dixon      17-cv-16723       12/11/2017           Bachus & Schanker, LLC       No PFS Submitted
Ellis              Tammy             2:18-cv-01447               02/12/2018 Bachus & Schanker, LLC       No Deficiency Response
Esposito           Susan             2:18-cv-01448               02/12/2018 Bachus & Schanker, LLC       No Deficiency Response
Gants              Regina            2:17-cv-18017               12/31/2017 Bachus & Schanker, LLC       No Deficiency Response
                                                                                                                                             Proof of Injury - no "before"
                                                                                                                                             photos provided; No PTO-71
Gray               Margarita         2:17-cv-16247                 12/09/2017 Bachus & Schanker, LLC     PFS Not Substantially Complete      submission.
                                                                                                                                             Proof of Injury - only
Hall               Lillie            2:16-cv-17176                 12/12/2016 Bachus & Schanker, LLC     PFS Not Substantially Complete      "before" photo is from 1991.


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                                  Case 2:16-md-02740-JTM-MBN Document 7459-1 FiledNo
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                                                                                     Deficiency Response; PFS Not                  Proof of Injury - no "before"
Halloway           Ronette        2:17-cv-16767              12/11/2017 Bachus & Schanker, LLC   Substantially Complete            photos provided.
                                                                                                 No Deficiency Response; PFS Not   Proof of Injury - no
Hatch              Marsha         2:18-cv-02868              03/16/2018 Bachus & Schanker, LLC   Substantially Complete            documentation submitted.
Haynes             Stacey         2:18-cv-02193              03/01/2018 Bachus & Schanker, LLC   PFS Not Substantially Complete    No before photos
HerminstyneProof                                                                                 No Deficiency Response; PFS Not   Proof of Injury - no "before"
of                 Dawn           2:18-cv-01922              02/22/2018 Bachus & Schanker, LLC   Substantially Complete            photos submitted.
Hines              Teresa         2:17-cv-10300              10/09/2017 Bachus & Schanker, LLC   No Deficiency Response; PFS Not   Proof of Injury - No photos
                                                                                                 Substantially Complete
Jackson            Constance      2:18-cv-02814              03/15/2018 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                                                   Proof of Injury - no "before"
                                                                                                 No Deficiency Response; PFS Not   photos; Authorizations -
James              Julia          2:18-cv-02263              03/02/2018 Bachus & Schanker, LLC   Substantially Complete            HIPAA is undated.
Jefferson          Myrna          2:17-cv-16696              12/11/2017 Bachus & Schanker, LLC   No Deficiency Response
Johnson            Tina Johnson   17-cv-16205      12/9/2017            Bachus & Schanker, LLC   No PFS Submitted
                                                                                                 No Deficiency Response; PFS Not   Proof of Injury - no "before"
Kidd               Ardett         2:17-cv-17743              12/23/2017 Bachus & Schanker, LLC   Substantially Complete            photos provided.
                                                                                                                                   Proof of Injury - no "before"
Luke               Sandra         2:17-cv-09157              09/17/2017 Bachus & Schanker, LLC   PFS Not Substantially Complete    photos provided.
Lundberg           Kari           2:17-cv-11805              11/05/2017 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                                                   Declaration - not provided;
                                                                                                 No Deficiency Response; PFS Not   Proof of Injury - no "before"
McGloun            Tracy          2:18-cv-02816              03/15/2018 Bachus & Schanker, LLC   Substantially Complete            photos provided.
Mingle             Denise         2:18-cv-01390              02/09/2018 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                                                   Proof of Injury - no
                                                                                                                                   documentation provided;
                                                                                                                                   Authorizations - HIPAA is
                                                                                                                                   undated, others not signed
Myles              Tewannia       2:17-cv-10539              10/11/2017 Bachus & Schanker, LLC   PFS Not Substantially Complete    by witness.
                                                                                                 No Deficiency Response; PFS Not   Proof of Injury - "Before"
Nebiett            Deconda        2:17-cv-08329              08/27/2017 Bachus & Schanker, LLC   Substantially Complete            photo is undated.
                                                                                                                                   Proof of Injury - no "before"
                                                                                                                                   photos provided; Proof of
                                                                                                                                   Use - unclear whether this is
                                                                                                 No Deficiency Response;PFS Not    a medical record or
Nevin              Carriene       2:18-cv-01589              02/15/2018 Bachus & Schanker, LLC   Substantially Complete            Plaintiff's own calendar.
Pack               Iris           2:17-cv-016976             12/11/2017 Bachus & Schanker, LLC   No Deficiency Response; PFS Not   Proof of Injury - No photos
                                                                                                 Substantially Complete
                                                                                                                                   Declaration - not provided;
                                                                                                                                   Proof of Injury - no 'before"
                                                                                                                                   photos provided; Proof of
                                                                                                                                   Use - documents do not
Payne              Juanita        2:17-cv-04823              05/09/2017 Bachus & Schanker, LLC   PFS Not Substantially Complete    reflect docetaxel treatment.
                                                                                                 No Deficiency Response; PFS Not   Proof of Injury - no "before"
Pena               Azalia         2:17-cv-16258              12/09/2017 Bachus & Schanker, LLC   Substantially Complete            photos provided.


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                                      Case 2:16-md-02740-JTM-MBN Document 7459-1 FiledNo
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                                                                                         Deficiency Response; PFS Not                     Proof of Injury - photos are
Pierre-Canel      Marie               2:18-cv-02818               03/15/2018 Bachus & Schanker, LLC   Substantially Complete              undated.
Rosas             Flordivina          2:18-cv-02945               03/19/2018 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                      No Deficiency Response; PFS Not     Proof of Injury - no "before"
Rupert            Carrie              2:17-cv-17993               12/30/2017 Bachus & Schanker, LLC   Substantially Complete              photos provided.
Schneider         Pamela              2:17-cv-17043               12/11/2017 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                                                          Proof of Injury - no
                                                                                                                                          documentation provided;
                                                                                                                                          Authorizations - lack dates
                                                                                                                                          and witness signatures and
                                                                                                                                          have Plaintiff's information
Sundell           Dorothy             2:17-cv-16357               12/09/2017 Bachus & Schanker, LLC   PFS Not Substantially Complete      in the "to" field.
Sunjah            Paisley             2:17-cv-16927               12/11/2017 Bachus & Schanker, LLC   No Deficiency Response
                                                                                                      No Deficiency Response; PFS Not     Proof of Injury - no
Ulmer             Patricia            2:18-cv-02821               03/15/2018 Bachus & Schanker, LLC   Substantially Complete              documentation provided.
                                                                                                      No Deficiency Response; PFS Not     Proof of Injury - no "before"
Vinson            Clara               2:18-cv-01615               02/15/2018 Bachus & Schanker, LLC   Substantially Complete              photos provided.
                                                                                                      No Deficiency Response; PFS Not     Proof of Injury - no "before"
Wells             Kiki                2:17-cv-16326               12/09/2017 Bachus & Schanker, LLC   Substantially Complete              photos provided.
Westbrook         Laurie Westbrook    18-cv-01397     2/9/2018               Bachus & Schanker, LLC   No PFS Submitted
                                                                                                                                          Proof of Injury - photos are
                                                                                                      No Deficiency Response; PFS Not     undated; no PTO-71
Whitlock          Teresa              2:18-cv-02319               03/02/2018 Bachus & Schanker, LLC   Substantially Complete              submission.
                                                                                                      No Deficiency Response; PFS Not     Proof of Injury - no "before"
Woods             Nancy               2:18-cv-02822             03/15/2018 Bachus & Schanker, LLC     Substantially Complete              photos provided.
Ayers             Ella Ayers          17-cv-16092     12/8/2017            Bachus & Schanker, LLC     No PFS Submitted
Beal              Patricia Beal       18-cv-01432     2/12/2018            Bachus & Schanker, LLC     No PFS Submitted
Beaver            Amy Beaver          18-cv-01433     2/12/2018            Bachus & Schanker, LLC     No PFS Submitted
Brackens          Yolandia Brackens   17-cv-14655     12/5/2017            Bachus & Schanker, LLC     No PFS Submitted
Burchett          Linda Burchett      17-cv-14625     12/5/2017            Bachus & Schanker, LLC     No PFS Submitted
Burrell           Anna Burrell        18-cv-01443     2/12/2018            Bachus & Schanker, LLC     No PFS Submitted
Davis             Carlina Davis       17-9543         9/23/2017            Bachus & Schanker, LLC     No PFS Submitted
Edmondson         Betty Edmondson     17-12257        11/12/2017           Bachus & Schanker, LLC     No PFS Submitted
Hagwood           Deborah Hagwood     18-cv-04151     4/23/2018            Bachus & Schanker, LLC     No PFS Submitted
Hatcher           Amy Hatcher         18-cv-04153     4/23/2018            Bachus & Schanker, LLC     No PFS Submitted
Ozan              Gloria Ozan         17-11829        11/5/2017            Bachus & Schanker, LLC     No PFS Submitted
Tucker            Dorothy Tucker      18-cv-02315     3/2/2018             Bachus & Schanker, LLC     No PFS Submitted
                                                                           Bachus & Schanker, LLC
Edwards           Crystal Edwards     17-cv-18014     12/31/2017                                      No PFS Submitted
                                                                             Bachus & Schanker, LLC   No Deficiency Response; PFS still
LaFever           Sherry              2:17-cv-11454   10/29/2017                                                                          Before photograph undated
                                                                             (Denver)                 materially insufficient
                                                                             Bachus & Schanker, LLC   No Deficiency Response; PFS still   No before photographs
Carvajal          Mary                2:17-cv-9537    9/23/2017
                                                                             (Denver)                 materially insufficient             submitted




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                               Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 10 of 49                              No before and after
                                                                                                                                    photographs submitted; ;
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still
Davis             Linda S.      2:17-cv-07738   8/10/2017                                                                           employment should be
                                                                       (Denver)                 materially insufficient
                                                                                                                                    signed, dated, and have
                                                                                                                                    printed name.
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still   No before photographs
Dawkins           Keshin        2:17-cv-09164   9/17/2017
                                                                       (Denver)                 materially insufficient             submitted
                                                                                                                                    Before photographs are
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still
Guidry            Betty         2:17-cv-10970   10/25/2017                                                                          undated and all photographs
                                                                       (Denver)                 materially insufficient
                                                                                                                                    are B&W only
                                                                                                                                    Before photograph is
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still   undated; health insurance is
Jones             Mary          2:17-cv-16759   12/11/2017
                                                                       (Denver)                 materially insufficient             missing plaintiff's signature,
                                                                                                                                    date, witness signature/date
                                                                                                                                    No before photographs
                                                                                                                                    submitted; health insurance
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still
Lark              Deborah       2:18-cv-01924   2/22/2018                                                                           authorization addressed to
                                                                       (Denver)                 materially insufficient
                                                                                                                                    healthcare provider not
                                                                                                                                    insurance company
                                                                                                                                    Before photographs are
                                                                       Bachus & Schanker, LLC   No Deficiency Response; PFS still
Weirick           Melissa       2:17-cv-09546   9/24/2017                                                                           undated; no PTO 71
                                                                       (Denver)                 materially insufficient
                                                                                                                                    statement
                                                                                                                                    Proof of Use - no
                                                                                                                                    documentation provided;
                                                                                                                                    Proof of Injury - photos are
                                                                                                                                    undated; Authorizations -
Brown             Darlene W.    2:18-cv-06007               06/16/2018 Baron & Budd, P.C.       PFS Not Substantially Complete      missing witness signatures.
                                                                                                                                    Proof of Injury - No
                                                                                                                                    documentation submitted;
                                                                                                                                    Declaration - no
                                                                                                                                    documentation submitted;
                                                                                                                                    Authorizations - not
                                                                                                                                    submitted; No PTO-71
Collins           Deborah       2:18-cv-05981               06/15/2018 Baron & Budd, P.C.       PFS Not Substantially Complete      submission.
                                                                                                                                    Proof of Injury - photos are
Nichols           Winona        2:17-cv-15204               12/06/2017 Baron & Budd, P.C.       PFS Not Substantially Complete      undated.
                                                                                                                                    Proof of Injury - no "before"
Kyle              Eloise T.     2:17-cv-14446               12/04/2017 Brown & Crouppen, P.C.   PFS Not Substantially Complete      photos provided.
                                                                                                                                    No before and after
                                                                                                                                    photographs and no
                                                                                                No Deficiency Response; PFS still   declaration submitted; no
Murphy            Brenda        2:17-cv-14480   12/4/2017              Brown & Crouppen, P.C.
                                                                                                materially insufficient             PTO 71 statement
                                                                                                                                    submitted; no authorizations
                                                                                                                                    submitted



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                                                    4/13/2018
                                                                Document 7459-1 Filed 06/25/19 Page 11 of 49
                                                                              Burg, Simpson, Eldredge, Hersh
Cornely           Victoria Cornely    18-cv-03917     Amended SFC:                                           No PFS Submitted
                                                                              & Jardin, PC (Cincinnati)
                                                      6/4/2018
                                                                                                                                                Proof of Use -
                                                                                                                                                documentation does not
                                                                                                                                                demonstrate treatment with
                                                                                                                                                docetaxel; Proof of Injury -
                                                                                                                                                photos are undated;
                                                                                                                                                Declaration - not provided;
Mathis            Debra               2:18-cv-06483               07/03/2018 Canepa Riedy Abele             PFS Not Substantially Complete      No PTO-71 submission.
                                                                                                                                                Only before photograph
                                                                                                                                                submitted is from 40 years
                                                                                                            No Deficiency Response; PFS still
Harris-Finney     Delilah J.          2:17-cv-17306   12/14/2017              Canepa Riedy Abele                                                before treatment; health
                                                                                                            materially insufficient
                                                                                                                                                insurance authorization
                                                                                                                                                improperly witnessed
                                                                                                                                                No declaration or before and
                                                                                                                                                after photographs
                                                                                                            No Deficiency Response; PFS still   submitted; no PTO 71
Martin            Rebecca             2:17-cv-17298   12/14/2017              Canepa Riedy Abele
                                                                                                            materially insufficient             statement submitted; health
                                                                                                                                                insurance authorization not
                                                                                                                                                witnessed
                                                                                                                                                Proof of Injury - photos are
Dodd              Kathy               2:17-cv-14842               12/05/2017 Carey Danis                    PFS Not Substantially Complete      undated.
                                                                                                                                                Proof of Injury - photos are
Monroy            Sylvia              2:17-cv-16963               12/11/2017 Carey Danis                    PFS Not Substantially Complete      undated.
                                                                                                            No Deficiency Response; PFS still   Proof of Injury - Before
Newell            Diane               2:17-cv-15883   12/8/2017               Carey, Danis, and Lowe, LLC
                                                                                                            materially insufficient             photographs are undated
                                                                                                            No Deficiency Response; PFS still   No before and after
Pruett            Lisa                2:17-cv-16493   12/10/2017              Carey, Danis, and Lowe, LLC
                                                                                                            materially insufficient             photographs submitted
Maes              Magdalena           2:18-cv-09800               10/22/2018 Cutter Law                     No PFS Submitted
Conley            Arquice             2:18-cv-09799               10/22/2018 Cutter Law, P. C.              No PFS Submitted
                                                                                                                                                Proof of Injury - no
                                                                                                                                                documentation submitted;
                                                                                                                                                Authorizations - not
                                                                                                            No Deficiency Response; PFS Not     submitted; no PTO-71
Harrell           Phyllis             2:17-cv-16734               12/11/2017 Cutter Law, P.C.               Substantially Complete              submission.
                                                                                                                                                Declaration - not provided;
                                                                                                                                                no PTO-71 submission; Proof
                                                                                                                                                of Injury - photos are not
                                                                                                                                                dated; Authorizations -
                                                                                                                                                HIPAA is undated, work
                                                                                                                                                comp, health insurance,
                                                                                                            No Deficiency Response; PFS Not     disability and employment
Jackson           Robbin              2:17-cv-16760               12/11/2017 Cutter Law, P.C.               Substantially Complete              were not provided.
Spencer           Pamela              2:17-cv-15804               12/08/2017 Cutter Law, P.C.               No Deficiency Response


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                                    Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed No
                                                                                     06/25/19      Page 12 of 49
                                                                                        Deficiency Response; PFS Not                    Proof of Injury - "before"
Gathings          Theresa            2:17-cv-17021                12/11/2017 Dalimonte Rueb LLP     Substantially Complete              photos are undated.
                                                                                                                                        Before and after
                                                                                                    No Deficiency Response; PFS still
Arends            Reba               2:17-cv-16214    12/9/2017              Dalimonte Rueb, LLP                                        photographs are undated;
                                                                                                    materially insufficient
                                                                                                                                        no authorizations submitted
                                                                                                                                        Photos are undated; no
                                                                                                    No Deficiency Response; PFS still
Miller            Lagayle            2:17-cv-03769    4/21/2017              Davis & Crump, P.C.                                        health Insurance
                                                                                                    materially insufficient
                                                                                                                                        authorization
Daniel            Daisy Daniel       18-cv-01407      2/12/2018              Davis & Crump, PC      No PFS Submitted
                                                                                                                                        Proof of Injury - only
                                                                                                                                        "before" photo is from 1983;
                                                                                                                                        Authorizations - Health
                                                                                                                                        Insurance is not signed by a
Ducote            Deanna             2:18-cv-03212              03/26/2018 Davis & Crump, PC        PFS Not Substantially Complete      witness.
Ferrell           Rose               2:17-cv-07862              08/15/2017 Davis & Crump, PC        PFS Not Substantially Complete      Declaration - undated.
Jackson           Noella             2:17-cv-08713              09/06/2017 Davis & Crump, PC        PFS Not Substantially Complete      Declaration - not dated.
Tolbert           Shannon Tolbert    18-cv-07272      8/1/2018             Davis & Crump, PC        No PFS Submitted
Despaney          Evelina            2:18-cv-07472              08/07/2018 Davis & Crump, PC        No Deficiency Response
Dothard           Andra Dothard      17-cv-14836      12/5/2017            Davis & Crump, PC        No PFS Submitted
Goudeau           Janis Goudeau      18-cv-10161      10/30/2018           Davis & Crump, PC        No PFS Submitted
Mitchell          Carol Mitchell     17-cv-14859      12/5/2017            Davis & Crump, PC        No PFS Submitted
Roberson          Bonita Roberson    18-cv-03186      3/26/2018            Davis & Crump, PC        No PFS Submitted
Wootton           Nancy Wootton      18-cv-09119      10/2/2018            Davis & Crump, PC        No PFS Submitted
Bell              Estella            2:18-cv-08822              09/21/2018 Fears Nachawati          No PFS Submitted
Belo              Tamica             2:18-cv-08817              09/21/2018 Fears Nachawati          No PFS Submitted
Caselli           Karen              2:18-cv-08821              09/21/2018 Fears Nachawati          No PFS Submitted
Hill              Linda              2:18-cv-10437              11/05/2018 Fears Nachawati          No PFS Submitted
Matis             Nicole             2: 18-cv-10596             11/07/2018 Fears Nachawati          No PFS Submitted
Osenbaugh         Tamara             2:18-cv-10588              11/06/2018 Fears Nachawati          No PFS Submitted
Quick             Frankie            2:18-cv-09645              10/17/2018 Fears Nachawati          No PFS Submitted
                                                                                                                                        Proof of Injury - photos are
                                                                                                                                        undated; no PTO-71
                                                                                                                                        submission; Authorizations -
                                                                                                    No Deficiency Response; PFS Not     not provided (unapproved
Allbritton        Kristie D.         2:18-cv-06530                07/05/2018 Fears Nachawati PLLC   Substantially Complete              records authorization only).
Alston            Tanya              2:18-cv-06527                07/05/2018 Fears Nachawati PLLC   No Deficiency Response
Asher             Kendra             2:18-cv-10754                11/09/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                        Proof of Inury - no
                                                                                                                                        documentation provided; no
                                                                                                    No Deficiency Response; PFS Not     PTO-71 submission;
Ball              Etta               2:18-cv-05817                06/11/2018 Fears Nachawati PLLC   Substantially Complete              Declaration - not dated.




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                                   Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 13 of 49                        Proof of Injury - no "before"
                                                                                                                                  photos provided;
                                                                                                                                  Authorizations - Health
                                                                                                                                  Insurance has "to" field
                                                                                                                                  completed and no witness
Barber            Claudette         2:18-cv-05813             06/11/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    signature.
Baskett           Jessica           2:18-cv-11024             11/15/2018 Fears Nachawati PLLC   No PFS Submitted
Bent              Sybil             2:18-cv-10723             11/09/2018 Fears Nachawati PLLC   No PFS Submitted
Bolte             Michelle          2:18-cv-10656             11/07/2018 Fears Nachawati PLLC   No PFS Submitted
Bravo             Fonda             2:18-cv-10473             11/05/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Proof of Injury - no "before"
                                                                                                                                  photos and single "after"
                                                                                                                                  photo is undated; No PTO-71
                                                                                                                                  submission; Authorizations -
                                                                                                                                  no psych, disability,
                                                                                                No Deficiency Response; PFS Not   employment, or work comp
Bremer-Hardesty   Patricia A.       2:18-cv-06048             06/18/2018 Fears Nachawati PLLC   Substantially Complete            provided.
Brewer            Audrey            2:18-cv-09605             10/16/2018 Fears Nachawati PLLC   No PFS Submitted
Burgess           Vicki             2:18-cv-09728             10/18/2018 Fears Nachawati PLLC   No PFS Submitted
Campbell          Sonja             2:18-cv-05779             06/09/2018 Fears Nachawati PLLC   No Deficiency Response
Chance            Judie             2:18-cv-11087             11/16/2018 Fears Nachawati PLLC   No PFS Submitted
Coderre           Charlsie          2:18-cv-10878             11/13/2018 Fears Nachawati PLLC   No PFS Submitted
Coup              Cheryl            2:18-cv-09331             10/08/2018 Fears Nachawati PLLC   No Deficiency Response
Courtney          Magaly            2:18-cv-09309             10/05/2018 Fears Nachawati PLLC   No PFS Submitted
Crawford          Latechia          2:18-cv-10001             10/25/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Proof of Injury - no "before"
                                                                                                                                  photos and single "after"
                                                                                                                                  photos are undated; No PTO-
                                                                                                                                  71 submission;
                                                                                                                                  Authorizations - no psych,
                                                                                                No Deficiency Response; PFS Not   disability, health insurance,
Eagle Elk         Kathleen          2:18-cv-05727             06/07/2018 Fears Nachawati PLLC   Substantially Complete            or work comp provided.
Elmore            Virginia          2:18-cv-10293             11/01/2018 Fears Nachawati PLLC   No PFS Submitted
Ferguson          Dana              2:18-cv-10834             11/12/2018 Fears Nachawati PLLC   No PFS Submitted
Fernandez         Rita Fernandez    18-cv-09560     10/15/2018           Fears Nachawati PLLC   No PFS Submitted
Frederick         Yamilla           2:18-cv-10478             11/05/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Declaration - not provided;
                                                                                                                                  Authorizations - not
                                                                                                                                  provided; Proof of Injury -
                                                                                                                                  "before" photos are
Frederick         Cheryl            2:18-cv-05354             05/26/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    undated.




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                                   Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 14 of 49                        Proof of Injury - be "before"
                                                                                                                                  photos and single "after"
                                                                                                                                  photo is undated (and does
                                                                                                                                  not indicate which person is
                                                                                                                                  Plaintiff). No PTO-71
Glaze-Nunley      Deborah           2:18-cv-06915             07/23/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    submission.
Henry             Anita             2:18-cv-10976             11/14/2018 Fears Nachawati PLLC   No PFS Submitted
Hinton            Beverly           2:18-cv-10275             11/01/2018 Fears Nachawati PLLC   No PFS Submitted
Houston           Audrey            2:18-cv-09558             10/15/2018 Fears Nachawati PLLC   No PFS Submitted
Humbard           Candy             2:18-cv-10017             10/25/2018 Fears Nachawati PLLC   No PFS Submitted
Hunt              Margaret          2:18-cv-09534             10/15/2018 Fears Nachawati PLLC   No PFS Submitted
Inabinett         April             2:18-cv-11096             11/16/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Proof of Injury - no
                                                                                                                                  documentation provided;
                                                                                                                                  Proof of Use - no
                                                                                                                                  documentation provided; No
                                                                                                                                  PTO-71 submission;
                                                                                                No Deficiency Response; PFS Not   Authorizations - missing
Jackson           Mildred Y.        2:18-cv-07754             08/15/2018 Fears Nachawati PLLC   Substantially Complete            witness signatures.
Jedziniak         Kristin           2:18-cv-10589             11/06/2018 Fears Nachawati PLLC   No PFS Submitted
Kirkwood          Norita            2:18-cv-09600             10/16/2018 Fears Nachawati PLLC   No PFS Submitted
Knott             Marianne Knott    18-cv-05309     5/24/2018            Fears Nachawati PLLC   No PFS Submitted
Krajewski         Janet             2:18-cv-09627             10/16/2018 Fears Nachawati PLLC   No PFS Submitted
Lake              Janine            2:18-cv-10725             11/09/2018 Fears Nachawati PLLC   No PFS Submitted
LesCallett        Annette           2:18-cv-09294             10/05/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Proof of Use - no
                                                                                                                                  documentation provided;
                                                                                                                                  Proof of Injury - photos are
                                                                                                                                  undated; Authorizations -
Lewis             Marie P.          2:18-cv-05819             06/11/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    missing witness signatures.
Licht             Johna             2:18-cv-10825             11/12/2018 Fears Nachawati PLLC   No PFS Submitted
Lipinski          Deborah           2:18-cv-09725             10/18/2018 Fears Nachawati PLLC   No PFS Submitted
Luckey            Cheryl            2:18-cv-10590             11/06/2018 Fears Nachawati PLLC   No PFS Submitted
Magliocco         Lavinia           2:18-cv-09616             10/16/2018 Fears Nachawati PLLC   No PFS Submitted
McCarthy          Sharon M.         2:18-cv-05785             06/09/2018 Fears Nachawati PLLC   No Deficiency Response
McCoy             Susana            2:18-cv-10424             11/02/2018 Fears Nachawati PLLC   No PFS Submitted
McCullough        Barbara           2:18-cv-10576             11/06/2018 Fears Nachawati PLLC   No PFS Submitted
McKines           Leona             2:18-cv-10594             11/06/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                  Proof of Injury - no "before"
McKinney          Thelma            2:18-cv-08480             09/10/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    photos provided.
McKnight          Sarah P.          2:18-cv-11029             11/15/2018 Fears Nachawati PLLC   No PFS Submitted
Meyer             Katherine         2:18-cv-11027             11/15/2018 Fears Nachawati PLLC   No PFS Submitted
Miller            Denise            2:18-cv-10591             11/06/2018 Fears Nachawati PLLC   No PFS Submitted
Mitchell          Kathryn           2:18-cv-10906             11/13/2018 Fears Nachawati PLLC   No PFS Submitted



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                                Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 15 of 49                   Authorizations - not signed
                                                                                                                          by witness; no PTO-71
Moaning           Schwanda Y.    2:18-cv-05777        06/09/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    submission.
Morgan            Nelcie         2:18-cv-10603        11/07/2018 Fears Nachawati PLLC   No PFS Submitted
Newman-Parker     Katherine      2:18-cv-10882        11/13/2018 Fears Nachawati PLLC   No PFS Submitted
Newton            Lisa           2:18-cv-10238        10/31/2018 Fears Nachawati PLLC   No PFS Submitted
Owoc              Adele          2:18-cv-09651        10/17/2018 Fears Nachawati PLLC   No PFS Submitted
Perea             Cecilia        2:18-cv-11040        11/15/2018 Fears Nachawati PLLC   No PFS Submitted
Peyton            Alice L.       2:18-cv-10261        11/01/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                          Proof of Injury - no "before"
                                                                                                                          photos provided; no PTO-71
Phelps            Roberta        2:18-cv-03308        03/27/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    submission.
Pierce            Rachel         2:18-cv-10479        11/05/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                          Proof of Injury - photos are
                                                                                                                          undated; Authorizations -
                                                                                                                          undated and not signed by
Pierce            Carolyn        2:18-cv-05729        06/07/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    witness.
Pollock           Martha         2:18-cv-10664        11/08/2018 Fears Nachawati PLLC   No PFS Submitted
Pospiel           Lori           2:18-cv-09637        10/17/2018 Fears Nachawati PLLC   No PFS Submitted
Pottle            Yvonne         2:18-cv-10263        11/01/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                          Proof of Injury - photos are
Principato        Laura B.       2:18-cv-05783        06/09/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    undated.
                                                                                                                          Proof of Use - no
                                                                                                                          documentation provided;
                                                                                                                          Proof of Injury - photos are
Purvis            Sheila         2:18-cv-06906        07/23/2018 Fears Nachawati PLLC   PFS Not Substantially Complete    undated.
                                                                                                                          Proof of Injury - photos are
                                                                                        No Deficiency Response; PFS Not   not dated; no PTO-71
Rawlins           Rebecca        2:18-cv-09142        10/02/2018 Fears Nachawati PLLC   Substantially Complete            submission.
Richards          Carol          2:18-cv-10686        11/08/2018 Fears Nachawati PLLC   No PFS Submitted
Richardson        Wanda          2:18-cv-10953        11/14/2018 Fears Nachawati PLLC   No PFS Submitted
Riegel            Sandra         2:18-cv-10887        11/13/2018 Fears Nachawati PLLC   No PFS Submitted
Roach             Meghan         2:18-cv-10593        11/06/2018 Fears Nachawati PLLC   No PFS Submitted
Rolle             Phillpa        2:18-cv-09538        10/15/2018 Fears Nachawati PLLC   No PFS Submitted
Rudasill          Leslie         2:18-cv-10701        11/08/2018 Fears Nachawati PLLC   No PFS Submitted
Sanchez           Lisa           2:18-cv-09274        10/05/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                          Declaration - not provided;
                                                                                        No Deficiency Response; PFS Not   proof of injury - photos are
Sane              Amy            2:18-cv-07071        07/27/2018 Fears Nachawati PLLC   Substantially Complete            undated.
                                                                                                                          Proof of Injury - no "before"
                                                                                                                          photos and photos are
                                                                                                                          undated; no PTO-71
                                                                                                                          submission; Authorizations -
                                                                                        No Deficiency Response; PFS Not   not dated or signed by
Santos            Irma A.        2:18-cv-07908        08/18/2018 Fears Nachawati PLLC   Substantially Complete            witnesses.
Sarnie            Deborah        2:18-cv-10469        11/05/2018 Fears Nachawati PLLC   No PFS Submitted

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                                    Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 16 of 49                            Proof of Use - documents
                                                                                                                                       reflect a plan and not actual
                                                                                                                                       treatment; no PTO-71
                                                                                                                                       submission; Proof of Injury -
                                                                                                                                       no "before" photos and
                                                                                                                                       photos are undated;
                                                                                                   No Deficiency Response; PFS Not     Authorizations - no health
Scruggs           Georgiann          2:18-cv-08227               08/29/2018 Fears Nachawati PLLC   Substantially Complete              insurance authorization.
Strickland        Brooke             2:18-cv-09729               10/18/2018 Fears Nachawati PLLC   No PFS Submitted
Stuckey-Henry     Ruth               2:18-cv-09332               10/08/2018 Fears Nachawati PLLC   No PFS Submitted
Sunderland        Carol              2:18-cv-10768               11/09/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                       Authorizations - not
                                                                                                                                       provided; no PTO-71
                                                                                                                                       submission; Proof of Injury -
                                                                                                   No Deficiency Response; PFS Not     no "before" photos and
Sylvain           Paulie             2:18-cv-06528               07/05/2018 Fears Nachawati PLLC   Substantially Complete              "after" photos are undated.
Terry             Linda              2:18-cv-10467               11/05/2018 Fears Nachawati PLLC   No PFS Submitted
Thomas            Barbara            2:18-cv-10595               11/06/2018 Fears Nachawati PLLC   No PFS Submitted
Thompson          Alice A.           2:18-cv-10256               11/01/2018 Fears Nachawati PLLC   No PFS Submitted
Toland            Lois               2:18-cv-10531               11/06/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                   No Deficiency Response; PFS Not     Proof of Injury - photos are
Turner            Kathy V.           2:18-cv-06918               07/23/2018 Fears Nachawati PLLC   Substantially Complete              undated.
Vaughn            Ora                2:18-cv-10655               11/07/2018 Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                       Declaration - not provided;
                                                                                                                                       Proof of injury - no "before"
                                                                                                   No Deficiency Response; PFS Not     photos provided; no PTO-71
Watson            Sureta             2:18-cv-05814               06/11/2018 Fears Nachawati PLLC   Substantially Complete              submission.
                                                                                                                                       Proof of Injury - photos are
                                                                                                   No Deficiency Response; PFS Not     undated; no PTO-71
White             Sharon Mae         2:18-cv-06047             06/18/2018 Fears Nachawati PLLC     Substantially Complete              submission.
Williams          Kanika             2:18-cv-09695             10/18/2018 Fears Nachawati PLLC     No PFS Submitted
Williams          Darlinda           2:18-cv-09550             10/15/2018 Fears Nachawati PLLC     No PFS Submitted
Wilson            Brenda             2:18-cv-10653             11/07/2018 Fears Nachawati PLLC     No PFS Submitted
Yount             Glenda             2:18-cv-11045             11/15/2018 Fears Nachawati PLLC     No PFS Submitted
Dupuis            Michelle Dupuis    18-cv-09595     10/16/2018           Fears Nachawati PLLC     No PFS Submitted
                  Tiana Louise
Edwards-Rector                       18-cv-08128     8/24/2018              Fears Nachawati PLLC   No PFS Submitted
                  Edwards-Rector
Garcia            Mary Lee Garcia    18-cv-08127     8/24/2018              Fears Nachawati PLLC   No PFS Submitted
Harris            Leslye Harris      18-cv-08868     9/24/2018              Fears Nachawati PLLC   No PFS Submitted
                                                                                                                                       Before photographs are
                                                                                                                                       undated; not all after
                                                                                                   No Deficiency Response; PFS still   photographs are dated; no
Hollingsworth     Beryl              2:18-cv-05770   6/9/2018               Fears Nachawati PLLC
                                                                                                   materially insufficient             PTO 71 statement; health
                                                                                                                                       insurance authorization not
                                                                                                                                       submitted.


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                                     Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 17 of 49                                    No before photographs
                                                                                                                                                submitted; no PTO 71
                                                                                                            No Deficiency Response; PFS still   statement submitted; health
Horst             Leasa D.            2:18-cv-05769   6/9/2018               Fears Nachawati PLLC
                                                                                                            materially insufficient             insurance authorization
                                                                                                                                                authorizes release of records
                                                                                                                                                to plaintiff's counsel
Hunter            Toni Hunter         18-cv-06044     6/18/2018              Fears Nachawati PLLC           No PFS Submitted
Lawson            Jalynne Lawson      18-cv-07035     7/26/2018              Fears Nachawati PLLC           No PFS Submitted
                                                                                                                                                No before photographs
                                                                                                                                                submitted; no PTO 71
                                                                                                                                                statement submitted; health
                                                                                                            No Deficiency Response; PFS still   insurance authorizations
Mengelkoch        Roxie L.            2:18-cv-05767   6/8/2018               Fears Nachawati PLLC
                                                                                                            materially insufficient             addressed to healthcare
                                                                                                                                                provider and authorizes
                                                                                                                                                records to be released to
                                                                                                                                                plaintiff's attorneys
Seidler           Michelle Seidler    18-cv-08225     8/29/2018              Fears Nachawati PLLC           No PFS Submitted
Varela            Ana Varela          18-cv-08476     9/10/2018              Fears Nachawati PLLC           No PFS Submitted
Volak             Dee Ann Volak       18-cv-07996     8/21/2018              Fears Nachawati PLLC           No PFS Submitted
                                                                                                                                                Proof of Injury - no
Thomas            Lee Ann             2:17-cv-09345               09/20/2017 Fernelius Simon PLLC           PFS Not Substantially Complete      documentation provided.
                                                                                                                                                Proof of Injury - no
                                                                                                                                                documentation provided;
                                                                                                                                                Authorizations - no psych
                                                                                                                                                authorization, despite
Evans             Rhonda              2:18-cv-09350               10/08/2018 Ferrer Poirot Wansbrough       PFS Not Substantially Complete      claiming mental injuries.
                                                                                                                                                Proof of Injury - "before"
                                                                                                                                                photos are undated;
                                                                                                                                                Authorizations - no psych,
                                                                                                                                                health insurance, disability,
                                                                                                                                                employment authorizations
Pennington        Charlese            2:17-cv-15619               12/07/2017 Finson Law Firm                PFS Not Substantially Complete      provided.
                                                                                                                                                No before and after
                                                                                                            No Deficiency Response; PFS still
Chandler          Linda F.            2:17-cv-02733   3/30/2017              Gomez Trial Attorneys                                              photographs submitted; no
                                                                                                            materially insufficient
                                                                                                                                                declaration submitted
                                                                                                                                                Proof of Injury - no "before"
McGee             Friella             2:17-cv-13831               11/30/2017 Gomez Trial Attorneys          PFS Not Substantially Complete      photos provided.
                                                                                                                                                Proof of Injuty - no "before"
Richardson        Helena              2:17-cv-13799             11/30/2017 Gomez Trial Attorneys            PFS Not Substantially Complete      photos provided.
                                                                           Gomez Trial Attorneys
Martin            Clara Martin        17-12933        11/21/2017                                            No PFS Submitted
                                                                                                                                                Proof of Injury - only
                                                                                                                                                "before" photos is undated
Dillard           Tracey              2:17-cv-13674               11/29/2017 Hilliard, Munoz, Gonzales, LLP PFS Not Substantially Complete      and from "early 2000s"



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                                      Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 18 of 49                                     Proof of Use - no
                                                                                                                                                  documentation submitted;
                                                                                                                                                  Proof of Injury - photos are
                                                                                                                                                  undated and no "before"
                                                                                                                                                  photos provided;
                                                                                                                                                  Authorizations - not signed
Morgan            Rose                 2:17-cv-13506              11/28/2017 Hilliard, Munoz, Gonzales, LLP PFS Not Substantially Complete        by witness.
                                                                                                                                                  Proof of Injury - photos are
                                                                                                                                                  undated and no "before"
                                                                                                                                                  photos were provided;
                                                                                                                                                  Authorizations - psych is
                                                                                                                                                  undated and health
                                                                                                                                                  insurance has plaintiff's
Robinson          Linda L.             2:17-cv-13918              11/30/2017 Hilliard, Munoz, Gonzales, LLP PFS Not Substantially Complete        information in "to" field.
                                                                                                                                                  Proof of Injury - photos are
                                                                                                                                                  undated and no "before"
                                                                                                                                                  photos were provided;
                                                                                                                                                  Authorizations - health
                                                                                                                                                  insurance is not dated or
Robinson          Tessa                2:17-cv-13919              11/30/2017 Hilliard, Munoz, Gonzales, LLP PFS Not Substantially Complete        signed by witness.
                                                                                                                                                  Proof of Injury - no "before"
                                                                                                                                                  photos and "after" photos
White             Geraldine            2:17-cv-12548              11/15/2017 Hilliard, Munoz, Gonzales, LLP PFS Not Substantially Complete        are undated.
                                                                                                                                                  No before photographs;
                                                                                                              No Deficiency Response; PFS still   after photographs undated;
Fedor             Mary A.              2:17-cv-13475   11/28/2017            Hilliard, Munoz, Gonzales, LLP
                                                                                                              materially insufficient             no PTO 71 statement
                                                                                                                                                  submitted
                                                                                                                                                  No before photographs;
                                                                                                                                                  after photographs undated;
                                                                                                              No Deficiency Response; PFS still
Moreman           Carolyn              2:17-cv-12922   11/21/2017            Hilliard, Munoz, Gonzales, LLP                                       no declaration; no
                                                                                                              materially insufficient
                                                                                                                                                  authorizations submitted; no
                                                                                                                                                  PTO 71 statement submitted
                                                                                                                                                  No before photographs;
                                                                                                                                                  after photographs undated;
                                                                                                              No Deficiency Response; PFS still
Pienkowski        Kris L.              2:17-cv-13884   11/30/2017            Hilliard, Munoz, Gonzales, LLP                                       no declaration; no CMO 12
                                                                                                              materially insufficient
                                                                                                                                                  statement; no authorization
                                                                                                                                                  submitted
                  Hortencia
Bustamante                             18-cv-00984     2/1/2018              Jackson Allen & Williams, LLP    No PFS Submitted
                  Bustamante
Scarlett          Patricia Scarlett    17-cv-13967     12/1/2017            Jackson Allen & Williams, LLP     No PFS Submitted
Shaffer           Lois Shaffer         17-12634        11/17/2017           Jackson Allen & Williams, LLP     No PFS Submitted
Martin            Glory                2:18-cv-03591             04/04/2018 Jeffrey J. Lowe, P.C.             No Deficiency Response
Williams          Gwendolyn            2:18-cv-03476             04/02/2018 Jeffrey J. Lowe, P.C.             No Deficiency Response



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                                                                                                                                                "After"/current photo is not
Adolph            Jennifer          2:18-cv-08030               08/23/2018 Johnson Law Group                PFS Not Substantially Complete      dated.
Arnold            JoAnn             2:18-cv-10122               10/30/2018 Johnson Law Group                No PFS Submitted
Davis             Barbara           2:18-cv-10112               10/30/2018 Johnson Law Group                No PFS Submitted
DeBruhl           Teri              2:18-cv-10132               10/30/2018 Johnson Law Group                No PFS Submitted
Dickerson         Amanda            2:18-cv-10141               10/30/2018 Johnson Law Group                No PFS Submitted
Florentino        Andrea            2:18-cv-10117               10/30/2018 Johnson Law Group                No PFS Submitted
Gaines            Stacy             2:18-cv-10116               10/30/2018 Johnson Law Group                No PFS Submitted
Kiehl-Carlson     Cynthia           2:18-cv-10133               10/30/2018 Johnson Law Group                No PFS Submitted
Mcmorris          Joyce             2:18-cv-10124               10/30/2018 Johnson Law Group                No PFS Submitted
                                                                                                                                                Proof of Injury - no "before"
Rogers            Margaret          2:18-cv-04722               05/08/2018 Johnson Law Group                PFS Not Substantially Complete      photos provided.
Steele            Patricia          2:18-cv-10130               10/30/2018 Johnson Law Group                No PFS Submitted
Vyska             Cindy             2:18-cv-10114               10/30/2018 Johnson Law Group                No PFS Submitted
                                                                                                                                                Before photograph is
                                                                                                                                                undated; not all after
                                                                                                                                                photographs are dated;
                                                                                                            No Deficiency Response; PFS still   health insurance
Fennewald         Sharon            2:17-cv-12430   11/14/2017             Johnson Law Group
                                                                                                            materially insufficient             authorization is missing
                                                                                                                                                witness signature/date; all
                                                                                                                                                authorizations submitted
                                                                                                                                                have incomplete SS#
                                                                                                                                                Photographs are undated;
                                                                                                            No Deficiency Response; PFS still   unclear if before
McIver            Gina              2:17-cv-11033   10/23/2017             Johnson Law Group
                                                                                                            materially insufficient             photographs were
                                                                                                                                                submitted
                                                                                                                                                Declaration - not provided;
                                                                                                                                                Authorizations - not
                                                                                                                                                provided; Proof of Injury -
                                                                                                                                                no "before" photos
Dobbs             Rosa Ena          2:18-cv-09748               10/19/2018 Kagan Legal Group LLC            PFS Not Substantially Complete      provided; no PTO-71
                                                                                                                                                No before photographs
                                                                                                            No Deficiency Response; PFS still
Dixon             Shirley           2:18-cv-06742   7/17/2018              Kagan Legal Group LLC                                                submitted; after photograph
                                                                                                            materially insufficient
                                                                                                                                                is undated
                                                                                                            No Deficiency Response; PFS still   No before photographs
Dubuisson         Frances           2:18-cv-05434   5/30/2018              Kagan Legal Group LLC
                                                                                                            materially insufficient             submitted
Gillispie         Tyra Gillispie    18-cv-06639     7/12/2018              Kagan Legal Group LLC            No PFS Submitted
                                                                                                                                                No before photographs or
                                                                                                                                                declaration submitted; no
                                                                                                            No Deficiency Response; PFS still
Long              Ellen             2:18-cv-06069   6/19/2018              Kagan Legal Group LLC                                                PTO 71 statement
                                                                                                            materially insufficient
                                                                                                                                                submitted; no authorizations
                                                                                                                                                submitted
                                                                                                                                                No before and after
                                                                                                            No Deficiency Response; PFS still
Funk              Rebecca F.        2:17-cv-16700   12/11/2017             Kershaw, Cutter & Ratinoff LLP                                       photographs submitted; no
                                                                                                            materially insufficient
                                                                                                                                                PTO 71 statement submitted
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Parks
                                   Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 20 of 49
                   Odessa Parks      17-cv-16716     12/11/2017             Kershaw, Cutter & Ratinoff LLP No PFS Submitted
Poole              Debra Poole       17-cv-16765     12/11/2017             Kershaw, Cutter & Ratinoff LLP No PFS Submitted
Wallace            Carrie Wallace    17-cv-16783     12/11/2017             Kershaw, Cutter & Ratinoff LLP No PFS Submitted
Wheeland           Veronica Wheeland 17-cv-16780     12/11/2017             Kershaw, Cutter & Ratinoff LLP No PFS Submitted
                                                                            Kershaw, Cutter & Ratinoff LLP
Yoder              Katy Yoder        17-cv-14636     12/5/2017              (Primary)                      No PFS Submitted

Welch              Grace             2:17-cv-17238               12/13/2017 Kirk Law Firm                 No Deficiency Response; PFS Not   Photos not dated
                                                                                                          Substantially Complete
Dugan              Angela Dugan      17-cv-17194     12/13/2017           Kirk Law Firm                   No PFS Submitted
Carpenter          Lillie            2:18-cv-10034             10/26/2018 Kirkendall Dwyer                No PFS Submitted
Midkiff            Susan             2:18-cv-10077             10/29/2018 Kirkendall Dwyer                No PFS Submitted
                                                                                                                                            Proof of Injury - no
                                                                                                                                            documentation provided;
                                                                                                                                            Authorizations - no psych,
                                                                                                                                            health insurance, disability,
                                                                                                                                            or worker's comp
                                                                                                                                            authorizations provided; no
Neely              Betty             2:18-cv-04926             05/15/2018 Kirkendall Dwyer                PFS Not Substantially Complete    PTO-71 submission.
Smith              Rebecca           2:18-cv-10081             10/29/2018 Kirkendall Dwyer                No PFS Submitted
Mann               Kathleen Mann     18-cv-10036     10/26/2018           Kirkendall Dwyer (Houston)      No PFS Submitted
Farrior            Mattie            2:18-cv-10979             11/14/2018 Lowe Law Group                  No PFS Submitted
                                                                                                                                            Proof of Use - no
                                                                                                                                            documentation submitted;
                                                                                                                                            Proof of Injury - No
                                                                                                                                            documentation submitted;
                                                                                                                                            Declaration - no
                                                                                                                                            documentation submitted;
                                                                                                                                            Authorizations - not
                                                                                                                                            submitted; No PTO-71
Asghar             Aisha             2:18-cv-02461               03/08/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete    submission.
                                                                                                                                            Declaration - not provided;
                                                                                                                                            no PTO-71 submission; Proof
                                                                                                          No Deficiency Response; PFS Not   of Injury - "before" photos
Bagner-Patterson   Gwendolyn         2:18-cv-09046               09/28/2018 Marc J. Bern & Partners LLP   Substantially Complete            are undated.
                                                                                                                                            Proof of Injury - no
                                                                                                                                            documentation submitted;
Beerman            Alisha            2:18-cv-01879               02/22/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete    Declaration - not submitted.
Davis              Carol             2:18-cv-09504               10/12/2018 Marc J. Bern & Partners LLP   No PFS Submitted




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                              Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 21 of 49                         Proof of Use - no
                                                                                                                              documentation submitted;
                                                                                                                              Proof of Injury - no
                                                                                                                              documents submitted;
                                                                                                                              Declaration - not submited;
                                                                                                                              Authorizations - Health
                                                                                                                              Insurance, Disability, Work
                                                                                                                              Comp, and Employment not
Ehrlich           Pamela       2:18-cv-07097        07/30/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete   executed.
Glenz             Christine    2:18-cv-10276        11/01/2018 Marc J. Bern & Partners LLP   No PFS Submitted
                                                                                                                              Authorizations - no Health
                                                                                                                              Insurance, Disability, Work
                                                                                                                              Comp, or Employment
Green             Patricia     2:17-cv-10752        10/17/2017 Marc J. Bern & Partners LLP   PFS Not Substantially Complete   Authorization provided.
                                                                                                                              Proof of Use - no
                                                                                                                              documentation submitted;
                                                                                                                              Proof of Injury - No
                                                                                                                              documentation submitted;
                                                                                                                              Declaration - no
                                                                                                                              documentation submitted;
                                                                                                                              Authorizations - not
                                                                                                                              submitted; No PTO-71
Harris            Diedra       2:18-cv-01915        02/22/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete   submission.
Knutz             Bernadie     2:18-cv-11100        11/16/2018 Marc J. Bern & Partners LLP   No PFS Submitted
                                                                                                                              Proof of Injury - no
                                                                                                                              documentation provided;
                                                                                                                              Authorizations - HIPAA is
                                                                                                                              undated; no Work Comp,
                                                                                                                              Health Insurance,
                                                                                                                              Employment authorizations
Laginess          Debbie       2:18-cv-02538        03/09/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete   provided.
Mahlstadt         Maxine       2:18-cv-10031        10/26/2018 Marc J. Bern & Partners LLP   No PFS Submitted
                                                                                                                              Proof of Use - no
                                                                                                                              documentation submitted;
                                                                                                                              Proof of Injury - No
                                                                                                                              documentation submitted;
                                                                                                                              Declaration - no
                                                                                                                              documentation submitted;
                                                                                                                              Authorizations - not
                                                                                                                              submitted; No PTO-71
Martin            Winsome      2:18-cv-10048        10/26/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete   submission.




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                                    Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 22 of 49                               Declaration - not provided;
                                                                                                                                          Proof of Use - no
                                                                                                                                          documentation provided;
                                                                                                                                          Proof of Injury - photos are
                                                                                                        No Deficiency Response; PFS Not   undated; no PTO-71
Robinson          Terry              2:18-cv-09089             10/01/2018 Marc J. Bern & Partners LLP   Substantially Complete            submission.
                                                                                                                                          Proof of Use - no
                                                                                                                                          documentation provided;
                                                                                                                                          Proof of Injury - no
                                                                                                                                          documentation provided;
                                                                                                                                          Authorizations - psych, work
                                                                                                                                          comp, employment, and
                                                                                                                                          disability authorizations not
Ross              Janet              2:18-cv-03443             03/30/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete    provided.
                                                                                                                                          Proof of Use - no
                                                                                                                                          documentation submitted;
                                                                                                                                          Proof of Injury - no
                                                                                                                                          documentation submitted;
                                                                                                                                          Declaration - not submitted;
                                                                                                                                          Authorizations - not
                                                                                                                                          submitted; no PTO-71
Smith             Tracy Duckworth    2:18-cv-07270             08/01/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete    submission.
                                                                                                                                          Proof of Use - no
                                                                                                                                          documentation submitted;
                                                                                                                                          Proof of Injury - no
                                                                                                                                          documentation submitted;
                                                                                                                                          Declaration - not submitted;
                                                                                                                                          Authorizations - not
                                                                                                                                          submitted; no PTO-71
Taylor            Lacey E.           2:18-cv-07295             08/01/2018 Marc J. Bern & Partners LLP   PFS Not Substantially Complete    submission.
                                                                                                                                          Declaration - not provided;
                                                                                                                                          Proof of Use - no
                                                                                                                                          documentation provided;
                                                                                                                                          Proof of Injury - photos are
                                                                                                                                          undated; no PTO-71
Torres            Ellyha             2:18-cv-07557             08/09/2018 Marc J. Bern & Partners LLP PFS Not Substantially Complete      submission.
Johnson           Ruby               2:17-cv-06699             07/13/2017 McGartland Law Firm, PLLC   PFS Not Substantially Complete      Declaration - not provided.
                                                                                                      No Deficiency Response; PFS still   Proof of Injury - Photos are
McGee             Gladys             2:17-cv-07706   8/10/2017            McGartland Law Firm, PLLC
                                                                                                      materially insufficient             undated
                                                                                                      No Deficiency Response; PFS still   Proof of Injury -
Vasques           Stephanie M.       2:17-10139      4/13/2018            McGartland Law Firm, PLLC
                                                                                                      materially insufficient             Photographs are undated
Brooks            Mary N.            2:18-cv-04800             05/10/2018 McSweeney / Langevin        No Deficiency Response
Dorsey            Wendy Dorsey       18-cv-10279     11/1/2018            McSweeney/Langevin Law Firm No PFS Submitted
Britt             Julie              2:18-cv-06055             06/19/2018 Morris Bart, LLC            PFS Not Substantially Complete      No PTO-71 submission.
                                                                                                      No Deficiency Response; PFS Not     Declaration - not provided;
Hilliard          Amelia             2:18-cv-04836             05/11/2018 Morris Bart, LLC            Substantially Complete              no PTO-71 submission.

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                                      Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 23 of 49                                   Proof of Injury - no "before"
                                                                                                                                                photos provided;
                                                                                                                                                Declaration - not dated; no
McClain           Nina                 2:18-cv-06091               06/19/2018 Morris Bart, LLC              PFS Not Substantially Complete      PTO-71 submission.
                                                                                                                                                Proof of Use - document
                                                                                                           No Deficiency ResponsePFS Not        reflects Taxol treatment, not
Payton            Ruth                 2:18-cv-05463             05/30/2018 Morris Bart, LLC               Substantially Complete               Taxotere.
Shumway           Jeanette             2:18-cv-03693             04/08/2018 Morris Bart, LLC               PFS Not Substantially Complete       No PTO-71 submission.
Cadiere           Donna                2:18-cv-06171             06/22/2018 Morris Bart, LLC               No Deficiency Response
Curier            Hattie               2:18-cv-06184             06/22/2018 Morris Bart, LLC               No Deficiency Response
Dean              Janet                2:18-cv-04806             05/10/2018 Morris Bart, LLC               No Deficiency Response
Ellis             Mamie                2:18-cv-05610             06/04/2018 Morris Bart, LLC               No Deficiency Response
Frazier           Paula                2:18-cv-05931             06/14/2018 Morris Bart, LLC               No Deficiency Response
Granger           Sandy                2:18-cv-06027             06/18/2018 Morris Bart, LLC               No Deficiency Response
Montgomery        Jacqueline           2:18-cv-06324             06/28/2018 Morris Bart, LLC               No Deficiency Response
Nelson            Susan                2:18-cv-06103             06/20/2018 Morris Bart, LLC               No Deficiency Response
Eiermann          Deborah Eiermann     18-cv-06073     6/19/2018            Morris Bart, LLC (New Orleans) No PFS Submitted
Martin            Viola Martin         18-cv-06010     6/16/2018            Morris Bart, LLC (New Orleans) No PFS Submitted
Thompson          Shannon              2:17-cv-10109             10/04/2017 Niemeyer, Grebel & Kruse LLC No Deficiency Response
Lillis            Jolene               2:18-cv-09826             10/22/2018 Onderlaw, LLC                  No PFS Submitted
                                                                                                                                                Proof of Injury - "Before"
Anderson          Edna M.              2:17-cv-11704             11/02/2017 Pendley, Baudin & Coffin, LLP   PFS Not Substantially Complete      photo is undated.
                                                                            Pendley, Baudin & Coffin, LLP
Dizadare          Irene Dizadare       18-cv-09321     10/5/2018                                            No PFS Submitted
                                                                            (New Orleans)
Howard            Lola Howard          17-cv-15702     12/8/2017            Peterson & Associates, PC       No PFS Submitted
Payne             Betty                2:17-cv-15991             12/08/2017 Pulaski Law Firm, PLLC          No Deficiency Response
                                                                                                                                                Proof of Injury - no "before"
Mian              Denise T.            2:17-cv-15594               12/07/2017 Pulaski Law Firm, PLLC        PFS Not Substantially Complete      photos provided.
                                                                                                            No Deficiency Response; PFS Not     Proof of Injury - no "before"
Porter            Susie                2:17-cv-15617               12/07/2017 Pulaski Law Firm, PLLC        Substantially Complete              photos provided.
Gunn              Jacquelyn Gunn       18-cv-06935     7/24/2018              Reich & Binstock              No PFS Submitted
Hodges            Virginia Hodges      18-cv-05142     5/22/2018              Reich & Binstock              No PFS Submitted
Jones             Earline Jones        18-cv-04769     5/9/2018               Reich & Binstock              No PFS Submitted
McLamb            Lenora McLamb        18-cv-08155     8/27/2018              Reich & Binstock              No PFS Submitted
Salter            Mary White Salter    18-cv-06683     7/13/2018              Reich & Binstock              No PFS Submitted
                                                                                                                                                Proof of Injury - photos are
Campbell          Karen                2:17-cv-15541               12/07/2017 Reich & Binstock, LLP         PFS Not Substantially Complete      undated.
                                                                                                                                                Proof of Injury - photos are
Kaminowitz        Phyllis Barbara      2:18-cv-08019               08/22/2018 Reich & Binstock, LLP         PFS Not Substantially Complete      undated.
Wilson            Josephine            2:18-cv-11048               11/17/2018 Reyes Browne Reilley          No PFS Submitted
Ramey             Margaret A.          2:18-cv-08697               09/18/2018 Roberts & Roberts             No Deficiency Response
                                                                                                                                                No after photographs
                                                                                                                                                submitted; only HIPAA
                                                                                                            No Deficiency Response; PFS still
Villa             Mary D.              2:16-cv-17949   12/8/2016              Rossbach, Hart, Bechtold                                          authorization served - all
                                                                                                            materially insufficient
                                                                                                                                                other authorizations are
                                                                                                                                                missing
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Diez-Braschi      Maria
                                    Case   2:16-md-02740-JTM-MBN
                                     2:18-cv-10774
                                                                     Document 7459-1 Filed No
                                                            11/09/2018 Sanders Phillips Grossman
                                                                                                 06/25/19    Page 24 of 49
                                                                                                   PFS Submitted
Johnson           Joan               2:18-cv-09287                10/05/2018 Sanders Phillips Grossman    No PFS Submitted
Bell              Zelma Lee          2:18-cv-10098                10/29/2018 Schmidt National Law Group   No PFS Submitted
                                                                                                                                              Proof of Injury - photos are
                                                                                                          No Deficiency Response; PFS Not     undated; no PTO-71
Meadows (Barker) Mary Lisa           2:18-cv-02216                03/01/2018 Seithel Law, LLC             Substantially Complete              submission.
                                                                                                                                              Proof of Injury - no
                                                                                                                                              documentation provided; no
Voegel            Susan              2:17-cv-14880              12/05/2017 Shaw Cowart, LLP               PFS Not Substantially Complete      PTO-71 submission.
Bolson            Debra Bolson       17-13277         11/24/2017           Shaw Cowart, LLP               No PFS Submitted
                                                                                                          No Deficiency Response; PFS Not     Proof of Use - no
Jones             Michele            2:18-cv-02148                02/28/2018 Smith Stag, LLC              Substantially Complete              documentation provided.
                                                                                                                                              Authorizations - health
                                                                                                                                              insurance authorization has
                                                                                                                                              plaintiff info in "to" field; no
                                                                                                                                              psych, disability,
                                                                                                                                              employment, or work comp
Placido           Adina              2:17-cv-15355                12/07/2017 The Goss Law Firm, P.C.      PFS Not Substantially Complete      authorizations provided.
                                                                                                                                              Authorizations - Health
                                                                                                                                              insurance is undated and
                                                                                                                                              not witnessed; psych, work
                                                                                                                                              comp, disability, and
                                                                                                                                              employment not provided at
Thomas            Patricia           2:17-cv-15306              12/07/2017 The Goss Law Firm, P.C.        PFS Not Substantially Complete      all.
                                                                           The Law Offices of A. Craig    No Deficiency Response; PFS still   No before photographs
Montgomery        Jeannette          2:17-cv-15997    12/8/2017
                                                                           Eiland, PC                     materially insufficient             submitted
                                                                                                                                              Proof of Injury - photos are
                                                                                                          No Deficiency Response; PFS Not     undated; authorizations -
Gibb              Cathryn            2:17-cv-16299                12/09/2017 The Mulligan Law Firm        Substantially Complete              not provided.
                                                                                                          No Deficiency Response; PFS Not     Proof of Injury - no
Hastings          Nelda              2:17-cv-16312                12/09/2017 The Mulligan Law Firm        Substantially Complete              documentation submitted.
                                                                                                                                              Proof of Injury - no
                                                                                                          No Deficiency Response; PFS Not     documentation provided;
Nystrom           Deborah            2:17-cv-16374                12/09/2017 The Mulligan Law Firm        Substantially Complete              Declaration - not provided.
                                                                                                                                              Proof of Injury - photos are
Curtis            Christine M.       2:18-cv-07049                07/27/2018 TorHoerman Law LLC           PFS Not Substantially Complete      undated.
                                                                                                                                              Proof of Injury - only
                                                                                                                                              "before" photos is dated
Leininger         Robyne             2:18-cv-07142                07/31/2018 TorHoerman Law LLC           PFS Not Substantially Complete      1980.
                                                                                                          No Deficiency Response; PFS Not     Proof of Injury - photos are
Phillips          Barbara            2:18-cv-07093                07/30/2018 TorHoerman Law LLC           Substantially Complete              undated.
                                                                                                                                              Proof of Injury - no
                                                                                                          No Deficiency Response; PFS Not     documentation submitted;
Struble           Melissa            2:18-cv-07094                07/30/2018 TorHoerman Law LLC           Substantially Complete              no PTO-71 submission.
Hebert            Cheryl Hebert      18-cv-07088      7/30/2018              TorHoerman Law LLC           No PFS Submitted
Rivera            Patricia Rivera    18-cv-07146      7/31/2018              TorHoerman Law LLC           No PFS Submitted
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Cusprinie         Beverly
                            Case   2:16-md-02740-JTM-MBN
                             2:18-cv-10969
                                                             Document 7459-1 Filed No
                                                    11/14/2018 Wendt Law Firm, PC
                                                                                   06/25/19     Page 25 of 49
                                                                                      PFS Submitted
Slagle            Jeannie    2:18-cv-10911           11/13/2018 Wendt Law Firm, PC   No PFS Submitted




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               EXHIBIT C
 Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 27 of 49


From:                Kelly Brilleaux
To:                  Samantha_Schott@laed.uscourts.gov
Cc:                  barrios; p lambert; Olinde; Douglas Moore; Insogna, Nicholas A. (Shld-Bos-LT); Harley Ratliff; Kelly Bieri; julie
                     callsen
Subject:             Taxotere MDL: Lists of Cases for April 4, 2019 Call Docket
Date:                Thursday, April 4, 2019 12:14:08 AM
Attachments:         image001.png
                     Taxotere - Dismissal List re April 4, 2019 Conference (Court).pdf
                     Taxotere - Declarations List re April 4, 2019 Conference (Court).pdf
                     Taxotere - Statement List re April 4, 2019 Conference (Court).pdf
                     Taxotere - April 4 Non Compliance List - Court.pdf


Sam,

Attached please find four lists of cases that will be used in tomorrow’s Call Docket. The four lists are:

        the list of 17 cases with filed Stipulations of Dismissal with Prejudice since the March 20, 2019
        Notice of Non-Compliance was filed;

        the list of 22 cases with filed Declarations of Attempts to Reach Plaintiff;

    ·    the list of 11 cases with filed Statements of Plaintiff’s Counsel of No Defense to Dismissal;
         and

    ·    the list of 82 cases on the Call Docket. The list will have a blank last column so the Judge can
         note her ruling, per her request.


Many thanks,

Douglas Moore and John Olinde


Kelly Brilleaux
Member
Irwin Fritchie Urquhart & Moore LLC
400 Poydras Street, Suite 2700
New Orleans, Louisiana 70130
504.310.2233 direct • 504.310.2101 fax
website • bio • vCard


e-mail signature line logo




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notify the sender by reply e-mail and destroy all copies of this communication.
                                 Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 28 of 49
                                                                    April 4, 2019
                                                                 Non Compliance List

#   Plaintiffs' Counsel         Last Name       First Name   MDL Docket       Non-Compliance Category                 Defendant's   Ruling
                                                             No.                                                      List
1   Canepa Riedy Abele          Mathis          Debra        2:18-cv-06483    PFS Not Substantially Complete;         505
                                                                              Authorizations - missing Health
                                                                              Insurance Auth.

2   Carey Danis & Lowe          Minter          Lisa         2:18-cv-05761    PFS Not Substantially Complete          sanofi




3   Dalimonte Rueb LLP          Arends          Reba         2:17-cv-16214    PFS Not Substantially Complete; No      505
                                                                              Authorizations; No Deficiency
                                                                              Response

4   Gori Julian & Associates,   George          Sandie       2:17-cv-12704    PFS Not Substantially Complete          sanofi
    PC


5   Kennedy Hodges, LLP         Edwards         Deborah      2:18-cv-00882    PFS Not Substantially Complete; No      sanofi
                                                                              PTO 71 A


6   Kirkendall Dwyer            Neely           Betty        2:18-cv-04926    PFS Not Substantially Complete;         505
                                                                              Authorizations - Only Employment &
                                                                              HIPAA uploaded; No PTO 71A

7   Lemmon Law Firm, LLC;       Jones           Karen        2:18-cv-10950    No PFS Submitted                        sanofi
    Liska, Exnicios &
    Nungesser

8   Atkins & Markoff            Johnson-Perry   Pamela       2:17-cv-14386    PFS Not Substantially Complete; No      505
                                                                              PTO 71 A; Authorizations - workers'
                                                                              compensation, disability and health
                                                                              insurance authorization not submitted
9   Finson Law Firm             Williams        Marcia D     2:17-cv-15828    PFS Not Substantially Complete          sanofi




                                                                                                                                             Page 1
                              Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 29 of 49
                                                              April 4, 2019
                                                           Non Compliance List

#    Plaintiffs' Counsel     Last Name   First Name    MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                       No.                                                   List
10   Finson Law Firm         Williams    Trinette      2:17-cv-15842    PFS Not Substantially Complete; No   sanofi
                                                                        CMO 12 A


11   The Mulligan Law Firm   Hastings    Nelda         2:17-cv-16312    PFS Not Substantially Complete; No   505
                                                                        Deficiency Response


12   The Mulligan Law Firm   Nystrom     Deborah       2:17-cv-16374    PFS Not Substantially Complete       505




13   Cutter Law PC           Buck        Teresa        2:18-cv-09798    No PFS Submitted                     sanofi




14   Cutter Law PC           Harrison    Alora         2:17-cv-16758    PFS Not Substantially Complete; No   sanofi
                                                                        Authorizations


15   Cutter Law PC           Jackson     Robbin        2:17-cv-16760    PFS Not Substantially Complete       sanofi




16   Gomez Trial Attorneys   Mcgee       Friella       2:17-cv-13831    PFS Not Substantially Complete       both sanofi
                                                                                                             and 505


17   Baron & Budd            Brown       Darlene       2:18-cv-06007    PFS Not Substantially Complete; No   both sanofi
                                                                        CMO 12 A; No PTO 71 A                and 505


18   Baron & Budd            Chavis      Tonya         2:18-cv-05979    PFS Not Substantially Complete; No   sanofi
                                                                        PTO 71 A




                                                                                                                                    Page 2
                             Case 2:16-md-02740-JTM-MBN Document 7459-1 Filed 06/25/19 Page 30 of 49
                                                                April 4, 2019
                                                             Non Compliance List

#    Plaintiffs' Counsel   Last Name        First Name   MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                         No.                                                   List
19   Baron & Budd          Collins          Deborah      2:18-cv-05981    PFS Not Substantially Complete; No   505
                                                                          Authorizations; No PTO 71 A


20   Baron & Budd          Curleymorabito   Mary         2:18-cv-05986    No CMO 12 A                          sanofi




21   Baron & Budd          Dalton           Ronda        2:18-cv-05967    PFS Not Substantially Complete       sanofi




22   Baron & Budd          Hill             Mary A       2:18-cv-05990    PFS Not Substantially Complete; No   sanofi
                                                                          PTO 71 A


23   Baron & Budd          Hinkle           Cynthia      2:17-cv-15035    PFS Not Substantially Complete; No   sanofi
                                                                          Authorizations; No CMO 12 A; No
                                                                          PTO 71 A

24   Baron & Budd          Hudgins          Eva          2:17-cv-15081    PFS Not Substantially Complete; No   sanofi
                                                                          CMO 12 A


25   Baron & Budd          Krahe            Margaret     2:18-cv-05993    No CMO 12 A                          sanofi




26   Baron & Budd          Longoria         Jane         2:18-cv-05972    PFS Not Substantially Complete       sanofi




27   Baron & Budd          Tyson            Shirley      2:17-cv-15254    PFS Not Substantially Complete; No   sanofi
                                                                          Authorizations; No CMO 12 A; No
                                                                          PTO 71 A


                                                                                                                                      Page 3
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#    Plaintiffs' Counsel   Last Name   First Name    MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                     No.                                                   List
28   Bachus & Schanker     Chandler    Linda F.      2:17-cv-02733    PFS Not Substantially Complete       505




29   Bachus & Schanker     Hatch       Marsha        2:18-cv-02868    PFS Not Substantially Complete; No   505
                                                                      Deficiency Response


30   Bachus & Schanker     Hodges      Joyce         2:18-cv-02632    PFS Not Substantially Complete       sanofi




31   Bachus & Schanker     Jackson     Kim           2:17-cv-07737    PFS Not Substantially Complete       sanofi




32   Bachus & Schanker     McGloun     Tracy         2:18-cv-02816    PFS Not Substantially Complete; No   505
                                                                      Deficiency Response


33   Bachus & Schanker     Myles       Tewannia      2:17-cv-10539    PFS Not Substantially Complete       505




34   Bachus & Schanker     Nevin       Carriene      2:18-cv-01589    PFS Not Substantially Complete       505




35   Bachus & Schanker     Robinson    Mary          2:17-cv-16100    PFS Not Substantially Complete; No   sanofi
                                                                      CMO 12 A


36   Bachus & Schanker     Smith       Janet G       2:17-cv-02728    PFS Not Substantially Complete       sanofi




                                                                                                                                  Page 4
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#    Plaintiffs' Counsel     Last Name    First Name    MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                        No.                                                   List
37   Bachus & Schanker       Taylor       Linda         2:17-cv-09742    PFS Not Substantially Complete       sanofi




38   Bachus & Schanker       Vinson       Clara         2:18-cv-01615    PFS Not Substantially Complete; No   505
                                                                         Deficiency Response


39   Bachus & Schanker       Williams     Mary M        2:18-cv-02321    No PTO 71 A                          sanofi




40   Fears Nachawati, PLLC   Allen        Sheila        2:18-cv-10688    No PFS Submitted                     sanofi




41   Fears Nachawati, PLLC   Ball         Etta          2:18-cv-05817    PFS Not Substantially Complete; No   505
                                                                         PTO 71 A


42   Fears Nachawati, PLLC   Biles        Renee         2:18-cv-10426    No PFS Submitted                     sanofi




43   Fears Nachawati, PLLC   Brock        Janice A      2:18-cv-00403    PFS Not Substantially Complete       sanofi




44   Fears Nachawati, PLLC   Clark        Gloria        2:18-cv-09593    No PFS Submitted                     sanofi




45   Fears Nachawati, PLLC   Coup         Cheryl        2:18-cv-09331    No Authorizations                    505




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#    Plaintiffs' Counsel     Last Name   First Name    MDL Docket       Non-Compliance Category                 Defendant's   Ruling
                                                       No.                                                      List
46   Fears Nachawati, PLLC   Fernandez   Rita          2:18-cv-09560    No PFS Submitted                        sanofi




47   Fears Nachawati, PLLC   Frederick   Cheryl        2:18-cv-05354    PFS Not Substantially Complete          505




48   Fears Nachawati, PLLC   Horst       Leasa D.      2:18-cv-05769    PFS Not Substantially Complete; No      505
                                                                        PTO 71 A; Health insurance
                                                                        authorization authorizes release of
                                                                        records to plaintiff's counsel, only.
49   Fears Nachawati, PLLC   Hustler     Laraine       2:18-cv-10492    No PFS Submitted                        sanofi




50   Fears Nachawati, PLLC   Jackson     Mildred Y.    2:18-cv-07754    PFS Not Substantially Complete          505




51   Fears Nachawati, PLLC   Lewis       Marie P.      2:18-cv-05819    PFS Not Substantially Complete          505




52   Fears Nachawati, PLLC   McCarthy    Sharon M.     2:18-cv-05785    PFS Not Substantially Complete;         505
                                                                        Authorizations - no Health Insurance,
                                                                        Work Comp, Employment, or
                                                                        Disability
53   Fears Nachawati, PLLC   Owoc        Adele         2:18-cv-09651    No PFS Submitted                        both sanofi
                                                                                                                and 505


54   Fears Nachawati, PLLC   Payne       Jennifer      2:18-cv-09727    No PFS Submitted                        sanofi




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#    Plaintiffs' Counsel       Last Name     First Name   MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                          No.                                                   List
55   Fears Nachawati, PLLC     Pierce        Lisa         2:18-cv-10654    No PFS Submitted                     sanofi




56   Fears Nachawati, PLLC     Purvis        Sheila       2:18-cv-06906    PFS Not Substantially Complete; No   505
                                                                           PTO 71 A


57   Fears Nachawati, PLLC     Scruggs       Georgiann    2:18-cv-08227    PFS Not Substantially Complete; No   505
                                                                           Deficiency Response


58   Fears Nachawati, PLLC     Stallworth    Teresa L     2:17-cv-17304    No PTO 71 A                          sanofi




59   Marc J. Bern & Partners   Asghar Khan   Aisha        2:18-cv-02461    No CMO 12 A                          sanofi
     LLP


60   Marc J. Bern & Partners   Burke         Carol        2:18-cv-11106    No PFS Submitted                     sanofi
     LLP


61   Marc J. Bern & Partners   Davis         Carol        2:18-cv-09504    No PFS Submitted                     both sanofi
     LLP                                                                                                        and 505


62   Marc J. Bern & Partners   Ehrlich       Pamela       2:18-cv-07097    PFS Not Substantially Complete; No   505
     LLP                                                                   Authorizations; No PTO-71 A; No
                                                                           CMO-12 A

63   Marc J. Bern & Partners   El Sabbagh    Crystal      2:17-cv-17679    PFS Not Substantially Complete; No   sanofi
     LLP                                                                   Authorizations; No CMO 12 A




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#    Plaintiffs' Counsel       Last Name       First Name   MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                            No.                                                   List
64   Marc J. Bern & Partners   Harris          Angelena     2:18-cv-00805    PFS Not Substantially Complete; No   sanofi
     LLP                                                                     Authorizations; No CMO 12 A; No
                                                                             PTO 71 A

65   Marc J. Bern & Partners   Harris          Diedra       2:18-cv-01915    PFS Not Substantially Complete; No   both sanofi
     LLP                                                                     Authorizations; No CMO 12 A; No      and 505
                                                                             PTO 71 A

66   Marc J. Bern & Partners   Held            Roseann      2:18-cv-02492    PFS Not Substantially Complete       sanofi
     LLP


67   Marc J. Bern & Partners   Hornibrook      Virginia L   2:18-cv-02500    PFS Not Substantially Complete; No   sanofi
     LLP                                                                     PTO 71 A


68   Marc J. Bern & Partners   Laginess        Debbie L     2:18-cv-02538    No CMO 12 A                          both sanofi
     LLP                                                                                                          and 505


69   Marc J. Bern & Partners   Lisotta         Linda        2:18-cv-05558    PFS Not Substantially Complete; No   sanofi
     LLP                                                                     Authorizations; No CMO 12 A; No
                                                                             PTO 71 A

70   Marc J. Bern & Partners   Martin          Winsome      2:18-cv-10048    PFS Not Substantially Complete; No   505
     LLP                                                                     Authorizations; No PTO-71 A


71   Marc J. Bern & Partners   Mohamed         Nimo         2:18-cv-00809    PFS Not Substantially Complete; No   sanofi
     LLP                                                                     Authorizations; No PTO 71 A


72   Marc J. Bern & Partners   Murray-Carter   Antoinette   2:18-cv-05570    PFS Not Substantially Complete; No   sanofi
     LLP                                                                     Authorizations; No CMO 12 A; No
                                                                             PTO 71 A


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#    Plaintiffs' Counsel       Last Name    First Name        MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                              No.                                                   List
73   Marc J. Bern & Partners   Neal         Rhonda            2:18-cv-00810    PFS Not Substantially Complete; No   sanofi
     LLP                                                                       Authorizations; No CMO 12 A; No
                                                                               PTO 71 A

74   Marc J. Bern & Partners   Norvel       Linda             2:17-cv-17851    PFS Not Substantially Complete; No   sanofi
     LLP                                                                       Authorizations; No PTO 71 A


75   Marc J. Bern & Partners   Reish        Daisie            2:18-cv-10902    No PFS Submitted                     sanofi
     LLP


76   Marc J. Bern & Partners   Resendiz     Nancy             2:18-cv-03159    No CMO 12 A                          sanofi
     LLP


77   Marc J. Bern & Partners   Ross         Janet             2:18-cv-03443    No CMO 12 A                          both sanofi
     LLP                                                                                                            and 505


78   Marc J. Bern & Partners   Sites        Cathy             2:18-cv-05547    PFS Not Substantially Complete; No sanofi
     LLP                                                                       Authorizations; No CMO 12; No PTO
                                                                               71 A

79   Marc J. Bern & Partners   Smith        Tracy Duckworth   2:18-cv-07270    PFS Not Substantially Complete; No   505
     LLP                                                                       Authorizations; No PTO 71 A


80   Marc J. Bern & Partners   Stevens      Margaret          2:18-cv-02544    PFS Not Substantially Complete; No   sanofi
     LLP                                                                       Authorizations; No CMO 12 A; No
                                                                               PTO 71 A

81   Marc J. Bern & Partners   Torres       Ellyha            2:18-cv-07557    PFS Not Substantially Complete; No   505
     LLP                                                                       PTO 71 A




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#    Plaintiffs' Counsel       Last Name   First Name    MDL Docket       Non-Compliance Category              Defendant's   Ruling
                                                         No.                                                   List
82   Marc J. Bern & Partners   Young       Rose          2:18-cv-02366    PFS Not Substantially Complete; No   sanofi
     LLP                                                                  Authorizations; No CMO 12 A; No
                                                                          PTO 71 A




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From:              Insogna, Nicholas A. (Shld-Bos-LT)
To:                Samantha_Schott@laed.uscourts.gov
Cc:                dmoore@irwinllc.com; Olinde (Olinde@chaffe.com); Palmer Lambert (plambert@gainsben.com); Dawn Barrios
                   (barrios@bkc-law.com); "kbrilleaux@irwinllc.com"; "KBIERI@shb.com"; "Julie.callsen@tuckerellis.com"
Subject:           Taxotere MDL: Letter to Judge Milazzo regarding plaintiff"s failure to cure within 30-day compliance period
                   following 4.4.2019 show cause hearing
Date:              Thursday, May 9, 2019 9:55:00 AM
Attachments:       505b2 Defendants" 5.9.19 Ltr to Judge Milazzo re Show Cause Deficiencies.pdf
                   Ex. B.PDF
                   Ex. A.PDF
                   image001.png


Ms. Schott,

Attached for Judge Milazzo’s review is correspondence with exhibits, sent on behalf of the 505(b)(2)
Defendants, concerning one case that was granted a 30-day extension of time at the April Show
Cause hearing.

If you have any difficulty with any of the attachments, or need anything further, please let me know.

Thank you,

Nicholas A. Insogna
Shareholder

Greenberg Traurig, LLP
One International Place | Suite 2000 | Boston, MA 02110
T +1 617.310.6231 | F +1 617.279.8416
insognan@gtlaw.com | www.gtlaw.com | View GT Biography
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a
Nicholas A. Insogna
Tel 617.310.6231
Fax 617.279.8416
insognan@gtlaw.com


May 9, 2019

VIA ELECTRONIC MAIL

Honorable Jane Triche Milazzo
United States District Court
Eastern District of Louisiana
U.S. Courthouse                                                                                                   ALBANY
500 Poydras Street, Room C206                                                                                     AMSTERDAM
New Orleans, LA 70130                                                                                             ATLANTA
                                                                                                                  AUSTIN
                                                                                                                  BERLIN¬

            Re:        Taxotere (Docetaxel) Products LiabilityLitigation, MDL                                     BOCA RATON
                                                                                                                  BOSTON
                       No. 2740                                                                                   CHICAGO
                                                                                                                  DALLAS
                       Notification of Plaintiffs Who Failed to Cure Deficiencies                                 DELAWARE
                       from April 4, 2019 Show Cause Hearing                                                      DENVER
                                                                                                                  FORT LAUDERDALE
                                                                                                                  HOUSTON
                                                                                                                  LAS VEGAS
       Dear Judge Milazzo:                                                                                        LONDON*
                                                                                                                  LOS ANGELES
       During the April 4, 2019 Show Cause Hearing, Your Honor granted                                            MEXICO CITY+
30 days to certain plaintiffs to cure the outstanding deficiencies identified in                                  MIAMI
the Defendants’ Notice of Non-Compliance.                                                                         MILAN**
                                                                                                                  NEW JERSEY
       This letter is to notify the Court that plaintiff Carrienne Nevin (2:18-                                   NEW YORK

cv-01589, Bachus & Schanker) has not cured the deficiency within the 30                                           NORTHERN VIRGINIA
                                                                                                                  ORANGE COUNTY
days ordered by this Court. Ms. Nevin was identified at the April 4, 2019                                         ORLANDO
Show Cause Hearing as missing proof of use of docetaxel. 1 At the Show                                            PHILADELPHIA

Cause Hearing, counsel for Ms. Nevin requested -- and the Court ordered – a                                       PHOENIX
                                                                                                                  ROME**
30-day extension for Ms. Nevin to provide proof of use. (See 4.4.19 Trans.                                        SACRAMENTO
at 69:16-70:9.) No additional proof of use submission has been made since                                         SAN FRANCISCO
the hearing. 2                                                                                                    SEOUL∞
                                                                                                                  SHANGHAI
       Accordingly, the 505(b)(2) Defendants request the immediate dismissal of Ms.                               SILICON VALLEY

Nevin’s case for failure to comply with the Court’s April 4, 2019 Order.                                          TALLAHASSEE
                                                                                                                  TAMPA
                                                                                                                  TEL AVIV^
                                                                                                                  TOKYO¤
                                                                                                                  WARSAW~
                                                                                                                  WASHINGTON, D.C.
1
 As noted at the hearing, Ms. Nevin had provided only a handwritten calendar that said “Taxotere” on certain      WESTCHESTER COUNTY
days. That submission is appended to this letter as Exhibit A. Plaintiff’s counsel represented that additional    WEST PALM BEACH
medical records had been ordered weeks before the hearing and could be provided within 30 days.                   ¬ OPERATES AS
                                                                                                                     GREENBERG TRAURIG GERMANY, LLP
                                                                                                                  * OPERATES AS A
                                                                                                                    SEPARATE UK REGISTERED LEGAL ENTITY
2
  For ease of the Court’s review, the 505(b)(2) Defendants have appended as Exhibit B to this letter a printout   +    OPERATES AS
                                                                                                                       GREENBERG TRAURIG, S.C.
from MDL Centrality showing Ms. Nevin’s submissions subsequent to the April 4, 2019 Show Cause                    **   STRATEGIC ALLIANCE

Hearing – none relates to her claimed use of docetaxel.                                                           ∞    OPERATES AS
                                                                                                                       GREENBERG TRAURIG LLP
                                                                                                                       FOREIGN LEGAL CONSULTANT OFFICE
                                                                                                                  ^ A BRANCH OF
                                                                                                                    GREENBERG TRAURIG, P.A.,
                                                                                                                    FLORIDA, USA
                                                                                                                  ¤ OPERATES AS
                                                                                                                    GT TOKYO HORITSU JIMUSHO
GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM                                                         ~    OPERATES AS
One International Place, Boston, MA 02110  Tel: 617.310.6231  insognan@gtlaw.com                                     GREENBERG TRAURIG GRZESIAK SP.K.
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Honorable Jane Triche Milazzo
United States District Court
Eastern District of Louisiana
May 9, 2019
Page 2



                                                                 Respectfully submitted:

                                                                 505(b)(2) Liaison Counsel

                                                                 By: /s/ Nicholas A. Insogna




cc:       Kelly Bieri, Esq. (via e-mail only)
          Kelly Brilleaux, Esq. (via e-mail only)
          Dawn M. Barrios, Esq. (via e-mail only)
          M. Palmer Lambert, Esq. (via e-mail only)
          Douglas J. Moore, Esq. (via e-mail only)
          John F. Olinde, Esq. (via e-mail only)




GREENBERG TRAURIG, LLP  ATTORNEYS AT LAW  WWW.GTLAW.COM
One International Place, Boston, MA 02110  Tel: 617.310.6231  insognan@gtlaw.com
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               EXHIBIT E
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Patient:                        Carriene Nevin
Date of Birth:                  07/12/1954
Date:                           10/27/2014 12:48 PM
Present for:                    Chart Update

Staging:
Date       Cancer type          Laterality         Histology          Path Stg                Grade
07/10/2014 Breast               Left               lobular            Stage II                G2-3


Treatment History:
Start Date Stop Date  Treatment Type Treatment Detail                        Comments
                      hormone therapy
                      radiation therapy
05/21/2014 05/21/2014 U/S core breast     invasive ductal carcinoma
                      biopsy
06/02/2014 06/02/2014 stereotactic breast Left breast @12:00                 HG LCIS
                      bx
08/05/2014 08/05/2014 Oncotype Dx         Recurrence score: 19               Distant recurrence: 12%
08/21/2014 08/21/2014 surgery             bilateral Mastectomy with R
                                          SLNBx
09/18/2014            chemotherapy        taxotere/cytoxan 4 cycles
                                          planned q 3 weeks with
                                          neulasta


Plan of care developed by: C. Blair Harkness, MD

Active Medications:
Medications prescribed prior to this visit
Medication                                RX elsewhere   Directions
Tylenol                                   Y              take as directed
Qvar                                      Y              inhale 1 puff by INHALATION route every day
lisinopril 5 mg tablet                    Y              take 1 tablet by oral route every day
pravastatin 20 mg tablet                  Y              take 1 Tablet by oral route every day
Vitamin D3 5,000 unit tablet              Y              take as directed
Vitamin C                                 Y              take as directed
cranberry                                 Y              take as directed
echinacea                                 Y              take as directed
Vitamin B-12                              Y              take one daily
Vitamin B Complex capsule                 Y              take 1 by Oral route every day
glutathione crystals                      Y              take as directed

Medication                                                           Directions
Ativan 1 mg tablet                                                   take 0.5 to 1 tablet by oral route every 6 hours
                                                                     as needed for anxiety/ nausea
Zyrtec 10 mg tablet                                                  take 1 tablet po twice daily starting the day
                                                                     before Neulasta and continue on day 1-7 of
                                                                     every cycle
ranitidine 150 mg capsule                                            take 1 capsule by oral route 2 times every day
promethazine 25 mg tablet                                            take 0.5- 1 tablet by oral route every 4 - 6
                                                                     hours as needed for nausea
Nevin, Carriene A. 000000029476 07/12/1954 10/27/2014 12:48 PM Page: 1/2
